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AO 440 (Rev. 121ng Summons in a Civil Aclion

UNITED STATES DISTRICT CoURT

 

 

for the
Eastel'n District of Missouri
ROBERT G. MONGLER
)
Pr ' )
man )
v. ) Civil Action No. 2117-0\/-00006
BR!AN KN|GHT, ET AL. )
)
)

D¢§f¢`zrrdant

SUM`MONS IN A CIVIL ACTION

TO! (Defendnn: ’s name and address) gn,l| §§§EELCL€:§_:_ENO

BLOOM|NGDALE, |L 60108

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3] -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procednre. 'I`he answer or motion must be served on the plaintiff or plaintiff s attorney,

whose name and address are. DONALD J. SCHUTZl ESQ_
535 CENTRAL AVENUE
S`l'. PETERSBURG, FL 3370'|
727-823-3222
don@|awus.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COURT

Date: 01!31,-"2017

 

.S'r'gnamre ofC!erk cr Deputy Ct`erk

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Civil Action No. 2:17-0\/-00006

PROOF OF SERVICE
(Tkr's section should not befiled with the court unless required by Fea'. R. Cfv. P. 4 (l))

This summons for (:mme ofiadividual and rule z'fany)

 

was received by me on (dare)

El I personally served the summons on the individual at (place)

 

on (dare) ; or

 

l:l I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

 

 

 

on (dare) , and mailed a copy to the individual’s last known address; or
EI I served the summons on maine ofindiw'dual) , who is
designated by law to accept service of process on behalf of (name ofargam'za:ian)
011 (da!e) ; 01'
El l returned the summons unexecuted because ; or
l:l Otl].€r (specl_',@),l:
My fees are $ for travel and $ for services, for a total of $ 0,00
I declare under penalty of perjury that this information is true.
Date:
Server 's signature
Pr'fu!ed name and title

 

Server 's address

Additional information regarding attempted service, etc:

